       Case 1:04-cr-05171-AWI Document 367 Filed 05/22/13 Page 1 of 3



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UNITED STATES OF AMERICA




           IN THE UNITED STATES COURT OF APPEALS

                      FOR THE NINTH CIRCUIT



UNITED STATES OF AMERICA, ) 1:04-cr-05171-AWI
                               )
          Plaintiff-Appellee,  )
                               )
          v.                   ) APPLICATION TO UNSEAL
                               ) FILINGS RELATING TO
HUGO ORTEGA SOTELO,            ) DEFENDANT ORTEGA
 aka Luis Casteneda Ortega,    ) SOTELO AND ORDER
                               )
          Defendant-Appellant. )
                               )

     The United States of America, by and through undersigned

counsel, hereby applies to unseal all pleadings relating to the above-



                                     1
          Case 1:04-cr-05171-AWI Document 367 Filed 05/22/13 Page 2 of 3



named defendant, only, from March 7, 2011, the date of the Court’s

finding that Defendant was an adult at the time of the charged offenses

and that his true name is Hugo Ortega Sotelo, to and through the

judgment of conviction. C.R. 295. The Court’s finding was affirmed by

the Ninth Circuit on September 28, 2012, and the U.S. Supreme Court

denied certiorari on March 25, 2013.        C.R. 346; C.A. No. 11-10115;

U.S.C. No. 12-8841.

      It should be noted that Defendant entered a guilty plea as an

adult. C.R. 360. Thus, there is no basis to seal any filed documents,

including the judgment, relating to Defendant after the entry of his

guilty.

      It is further requested that the court docket reflect Defendant’s

true name, Hugo Ortega Sotelo. Currently, the docket indicates the

following:

Defendant (3)
HOS
TERMINATED: 04/08/2013
also known as
Luis Ortega Casteneda
TERMINATED: 04/08/2013
also known as
HOS

                                        2
                       Case 1:04-cr-05171-AWI Document 367 Filed 05/22/13 Page 3 of 3



TERMINATED: 04/08/2013


Dated: May 20, 2013                                   Respectfully submitted,

                                                      BENJAMIN B. WAGNER
                                                      United States Attorney

                                                      /s/ Karen A. Escobar
                                                      KAREN A. ESCOBAR
                                                      Assistant United States Attorney

                                             ORDER



IT IS SO ORDERED.

Dated: May 21, 2013
DEAC_Sign ature-END:
                                                  SENIOR DISTRICT JUDGE


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                                                     3
